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 4
   Attorney for Defendant
 5 John Pruitt
 6
 7                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,       ) No. Cr.S. 08-103 LKK
                                   )
10           Petitioner,           )
                                   ) STIPULATION AND ORDER TO
11      v.                         ) RESET STATUS CONFERENCE
                                   )
12 JOHN PRUITT,                    )
                                   )
13           Defendant.            )
   _______________________________ )
14
15        Defendants John Pruitt and Darryl Berg, by and through their respective
16 counsel along with the United States of America (government) through its counsel
17 stipulate and agree to vacate the status conference currently set for January 21,
18 2009, and reset it for January 27, 2009, at 9:15 a.m.
19        It is further stipulated and agreed the period of time from January 21, 2009,
20 up to and including January 27, 2009, be excluded in computing the time within
21 which the trial of the above criminal prosecution must commence for purposes of
22 the Speedy Trial Act. The parties stipulate and agree the ends of justice are served
23 by the Court excluding such time so that counsel for the government and the
24 defense may have reasonable time for effective preparation, investigation and
25 negotiations. 18 U.S.C. § 3161(h)(8)(B)(iv) (Local Code T4).
26        Counsel for John Pruitt was recently appointed on January 16, 2009. The
27 additional time is necessary to obtain the file from the Office of the Federal
28
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 1 Defender, review the materials, conduct an investigation, if necessary, conduct the
 2 necessary legal research, and prepare for trial. All parties agree this is an
 3 appropriate exclusion of time.
 4 DATED: January 20, 2009
 5                                           /s/ Krista Hart
                                            Attorney for Defendant
 6                                          John Pruitt
 7
     DATED: January 20, 2009
 8                                          /s/ John Balazs
                                            Attorney for Defendant
 9                                          Darryl Berg
10
11
     DATED: January 20, 2009                McGREGOR SCOTT
12                                          United States Attorney
13
                                             /s/ Michael Beckwith
14                                          Assistant U.S. Attorney
                                            (By Krista Hart per e-mail)
15
16
17
                                         ORDER
18
19
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
20
21
     DATED: January 20, 2009
22
23
24
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27
28
